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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

__________________________________________
                                                     )
CAREER COLLEGES & SCHOOLS OF                         )
TEXAS,                                               )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )              No. 1:23-cv-00433-RP
                                                     )
UNITED STATES DEPARTMENT OF                          )
EDUCATION; MIGUEL CARDONA, in his                    )
official capacity as the Secretary of                )
Education,                                           )
                                                     )
                      Defendants.                    )
                                                     )

          [PROPOSED] ORDER ON MOTION OF PUBLIC CITIZEN AND
       PROJECT ON PREDATORY STUDENT LENDING FOR LEAVE TO FILE
            BRIEF OF AMICI CURIAE IN SUPPORT OF DEFENDANTS

       Having reviewed the “Motion of Public Citizen and Project on Predatory Student Lending

for Leave to File Brief of Amici Curiae in Support of Defendants” and the entire record herein, the

Court orders the motion GRANTED.



       SIGNED on May ____, 2023.

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                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE




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